In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-19      Filed 09/28/07 Entered 09/28/07 16:40:29                               Exhibit F-7
                                                                                                     Pg 1 of 4                                                              Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT F-7 - ADJOURNED TAX CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 9824
                                                   Claim Holder Name and Address
Date Filed: 07/11/2006
Docketed Total:   $20,112,352.05                   NEW YORK STATE DEPARTMENT                 Docketed Total:              $20,112,352.05   NEW YORK STATE DEPARTMENT        Modified Total:            $7,800,000.00
Filing Creditor Name and Address:                  OF TAXATION AND FINANCE                                                                 OF TAXATION AND FINANCE
  NEW YORK STATE                                   PO BOX 5300                                                                             PO BOX 5300
  DEPARTMENT OF TAXATION                           ALBANY, NY 12205-0300                                                                   ALBANY, NY 12205-0300
  AND FINANCE
  PO BOX 5300                                     Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority          Unsecured
  ALBANY, NY 12205-0300                           05-44640                                      $20,082,602.46                $29,749.59   05-44640                                 $7,800,000.00               $0.00

                                                                                                $20,082,602.46                $29,749.59                                            $7,800,000.00               $0.00

Claim: 1532
                                                   Claim Holder Name and Address
Date Filed: 01/13/2006
Docketed Total:   $36,026,477.41                   OHIO DEPARTMENT OF TAXATION               Docketed Total:              $36,026,477.41   OHIO DEPARTMENT OF TAXATION      Modified Total:            $3,532,000.00
Filing Creditor Name and Address:                  30 E BROAD ST                                                                           30 E BROAD ST
  OHIO DEPARTMENT OF                               COLUMBUS, OH 43215                                                                      COLUMBUS, OH 43215
  TAXATION
  30 E BROAD ST                                   Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority          Unsecured
  COLUMBUS, OH 43215                              05-44481                                      $36,026,477.41                             05-44481                                 $3,532,000.00

                                                                                                $36,026,477.41                                                                      $3,532,000.00

Claim: 4536
                                                   Claim Holder Name and Address
Date Filed: 05/02/2006
Docketed Total:   $20,048.53                       STATE OF MICHIGAN                         Docketed Total:                  $20,048.53   STATE OF MICHIGAN                Modified Total:                     $0.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PL                                                                             CADILLAC PL
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PL
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority          Unsecured
  DETROIT, MI 48202                               05-44632                                                                    $20,048.53   05-44632                                                             $0.00

                                                                                                                              $20,048.53                                                                        $0.00




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
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Case No. 05-44481 (RDD)
 EXHIBIT F-7 - ADJOURNED TAX CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 5761
                                                   Claim Holder Name and Address
Date Filed: 05/12/2006
Docketed Total:   $1,250,306.00                    STATE OF MICHIGAN                         Docketed Total:               $1,250,306.00   STATE OF MICHIGAN                Modified Total:                       $0.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PL                                                                             CADILLAC PL
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PL
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority            Unsecured
  DETROIT, MI 48202                               05-44554                                                                 $1,250,306.00   05-44554                                                               $0.00

                                                                                                                           $1,250,306.00                                                                          $0.00

Claim: 5762
                                                   Claim Holder Name and Address
Date Filed: 05/12/2006
Docketed Total:   $1,276,165.80                    STATE OF MICHIGAN                         Docketed Total:               $1,276,165.80   STATE OF MICHIGAN                Modified Total:                       $0.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PL                                                                             CADILLAC PL
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PL
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority            Unsecured
  DETROIT, MI 48202                               05-44554                                       $1,276,165.80                             05-44554                                           $0.00

                                                                                                 $1,276,165.80                                                                                $0.00

Claim: 6354
                                                   Claim Holder Name and Address
Date Filed: 05/19/2006
Docketed Total:   $666,927.27                      STATE OF MICHIGAN                         Docketed Total:                 $666,927.27   STATE OF MICHIGAN                Modified Total:                       $0.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PL                                                                             CADILLAC PL
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PL
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority            Unsecured
  DETROIT, MI 48202                               05-44481                                                                   $666,927.27   05-44481                                                               $0.00

                                                                                                                             $666,927.27                                                                          $0.00




*See Exhibit G for a listing of debtor entities by case number.
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Case No. 05-44481 (RDD)
 EXHIBIT F-7 - ADJOURNED TAX CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 6383
                                                   Claim Holder Name and Address
Date Filed: 05/19/2006
Docketed Total:   $248,083.00                      STATE OF MICHIGAN                         Docketed Total:                 $248,083.00   STATE OF MICHIGAN                Modified Total:                       $0.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PL                                                                             CADILLAC PL
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PL
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority            Unsecured
  DETROIT, MI 48202                               05-44481                                                                   $248,083.00   05-44481                                                               $0.00

                                                                                                                             $248,083.00                                                                          $0.00

Claim: 2420
                                                   Claim Holder Name and Address
Date Filed: 03/27/2006
Docketed Total:   $10,790,199.00                   STATE OF MICHIGAN                         Docketed Total:              $10,790,199.00   STATE OF MICHIGAN                Modified Total:              $2,892,800.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PLACE                                                                          CADILLAC PLACE
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PLACE
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority            Unsecured
  DETROIT, MI 48202                               05-44640                                                                $10,790,199.00   05-44640                                                      $2,892,800.00

                                                                                                                          $10,790,199.00                                                                 $2,892,800.00

Claim: 2422
                                                   Claim Holder Name and Address
Date Filed: 03/27/2006
Docketed Total:   $6,386,401.82                    STATE OF MICHIGAN                         Docketed Total:               $6,386,401.82   STATE OF MICHIGAN                Modified Total:                       $0.00
Filing Creditor Name and Address:                  DEPARTMENT OF TREASURY                                                                  DEPARTMENT OF TREASURY
  STATE OF MICHIGAN                                ASSISTANT ATTORNEY GENERAL                                                              ASSISTANT ATTORNEY GENERAL
  DEPARTMENT OF TREASURY                           CADILLAC PLACE                                                                          CADILLAC PLACE
  ASSISTANT ATTORNEY                               3030 W GRAND BLVD STE 10 200                                                            3030 W GRAND BLVD STE 10 200
  GENERAL                                          DETROIT, MI 48202                                                                       DETROIT, MI 48202
  CADILLAC PLACE
  3030 W GRAND BLVD STE 10 200                    Case Number*                     Secured     Priority                  Unsecured         Case Number*         Secured           Priority            Unsecured
  DETROIT, MI 48202                               05-44640                                       $6,386,401.82                             05-44640                                           $0.00

                                                                                                 $6,386,401.82                                                                                $0.00




*See Exhibit G for a listing of debtor entities by case number.
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 EXHIBIT F-7 - ADJOURNED TAX CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                           CLAIM AS MODIFIED


                                                                                                           Total Claims to be Modified: 9
                                                                                                           Total Amount as Docketed:         $76,776,960.88
                                                                                                           Total Amount as Modified:         $14,224,800.00




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